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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )             CASE NO. 8:04CR206
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )        MEMORANDUM AND ORDER
                                              )
ADAM SOMMER,                                  )
                                              )
              Defendant.                      )

       This matter is before the Court on a Report and Recommendation (Filing No. 320)

of a Magistrate Judge recommending that I accept the Defendant’s plea of guilty. Also

pending are: the Plaintiff’s motion for additional time for voir dire and opening statements

(Filing No. 287); and the Defendant’s motion in limine (Filing No. 292). There are no

objections to the Report and Recommendation. Pursuant to 28 U.S.C. § 636(b)(1)(C) and

NECrimR 11.2(d), the Court has conducted a de novo review of the record.

       IT IS ORDERED:

       1.     The Report and Recommendation (Filing No. 320) is adopted;

       2.     The Defendant is found guilty. The plea is accepted. The Court finds that

              the plea of guilty is knowing, intelligent, voluntary, and that a factual basis

              exists for the plea;

       3.     I defer acceptance of the plea agreement until the time of sentencing

              pursuant to Federal Rule of Criminal Procedure 11(c)(3). Unless otherwise

              stated at the time of sentencing, the plea agreement will be deemed

              accepted upon the pronouncement of the judgment and sentence;

       4.     This case shall proceed to sentencing;
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     5.    The Plaintiff’s motion for additional time for voir dire and opening statements

           (Filing No. 287) is denied as moot; and

     6.    The Defendant’s motion in limine (Filing No. 292) is denied as moot.

     DATED this 22nd day of July, 2005.

                                              BY THE COURT:

                                              S/ Laurie Smith Camp
                                              United States District Judge




                                          2
